     Case 3:16-cr-01780-WQH      Document 37      Filed 09/08/16   PageID.85        Page 1 of 1
                                                                                   FILED
                              UNITED STATES DISTRICT COUR \
                            SOUTHERN DISTRICT OF CALIFO IA SEP 0 a 2016 ~
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UNITED STATES OF AMERICA,                                                   ~~UTHERN D,S""iCT OF CC~i~f>':,
                                                       Case No. 16CR1780-WQH

                                     Plaintiff,
                     vs.
                                                       JUDGMENT OF DISMISSAL
TANIA MARTINEZ-CERVANTES,

                                   Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
D
     granted the motion ofthe Government for dismissal ofthis case, without prejudice; or

D    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, without prejudice; or

D    the Court has granted the motion of the defendant for a judgment of acquittal; or

D    a jury has been waived, and the Court has found the defendant not guilty; or

D    the jury has returned its verdict, finding the defendant not guilty;

     ofthe offense(s) as charged in the Information:
     21 USC 952,960 - Importation of Methamphetamine; 18 USC 2 - Aiding and Abetting




Dated:   9/8/2016

                                                     ited States District Judge
